        Case 3:12-cr-04435-GPC                       Document 43                Filed 02/01/13              PageID.148              Page 1 of 2

     ""AO 245B (CASD) (Rev. 1/12)
               Sheet I
                                    Judgment in a Criminal Case                                                                      FILED
                                                                                                                                    FEB - I 2013
                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                        SOU~~t-Rpt_=-OI
                                                                                                                      'tiBYn:fTM~~P"t"-__~D:=P:,;j"\1
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINA
                                        v.                                                                                                       87)

               CESAR ALEJANDRO DAVIS-CAMPA (2)                                     Case Number: 12CR4435-GPC
                                                                                    MARK ADAMS
                                                                                   Defendant's Attorney
    REGISTRATION NO. 35194298

    o
    THE DEFENDANT:
    181 pleaded guilty to countCs)_2_0_f_th_e_I_n_fo_rm_a_ti_o_n_,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Natnre of Offense                                                                             Number(s)
21 USC 952,960                        Importation of methamphetamine.                                                                       2




        The defendant is sentenced as provided in pages 2 through _ _.; ;.2_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)

 O Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0
                                                            ----------------------------------------------
                                                                             are 0 dismissed on the motion of the United States.
 181 Assessment: $100.00 waived.


 181 Fine waived                                    o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein,
       IT IS ORDERED that the defendant shall notify the United Stales Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE


                                                                                                                                                12CR4435-GPC
   Case 3:12-cr-04435-GPC                      Document 43           Filed 02/01/13       PageID.149          Page 2 of 2

AO 2458 (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2 ~. Imprisonment

                                                                                             Judgment ~ Page _ _2 _ of         2
 DEFENDANT: CESAR ALEJANDRO DAVIS-CAMPA (2)
 CASE NUMBER: 12CR443S-GPC
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United. States Bureau of Prisons to be imprisoned for a term of
         30 months.



    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op·m.         on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        -------------------------------------------------------------------------
          o as    notified by the United States Marshal.
          o as    notified by the Probation or Pretrial Services Office.


                                                                RETURN

 1 have executed this judgment as follows:

         Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                      By
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                     12CR4435-GPC
